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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

BIBLE BELIEVERS, et al.,
                                                  Case No. 2:12-cv-14236
      Plaintiffs,
                                                  Hon. Stephen J. Murphy, III
-v-                                               Mag. Judge David R. Grand

WAYNE COUNTY, et al.,

      Defendants.


                       STIPULATED FINAL JUDGMENT

      The parties having so stipulated, and the Court being otherwise fully

advised, IT IS HEREBY ORDERED that a Final Judgment is entered against

Defendants Dennis Richardson and Mike Jafaar consistent with the October 28,

2015 Order of the United States Court of Appeals for the Sixth Circuit in this case,

and IT IS FURTHER ORDERED that Plaintiffs’ claims against Defendants

Wayne County and Sheriff Benny N. Napoleon, in his official capacity as Sheriff,

Wayne County Sheriff’s Office, are hereby DISMISSED WITH PREJUDICE.

      SO ORDERED.

                            S/Stephen J. Murphy, III
                            Stephen J. Murphy, III
                            United States District Judge

Dated: September 28, 2016




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I hereby certify that a copy of the foregoing document was served upon the parties and/or
counsel of record on September 28, 2016, by electronic and/or ordinary mail.

                             S/Carol Cohron
                             Case Manager




We hereby stipulate to the entry of the above Order:

By: /s/ Zenna Elhasan                            /s/ Robert J. Muise
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                                                 Dated: September 28, 2016




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